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                       UNITED STATES DISTRICT COURT
                         DISTRICT OF NEW HAMPSHIRE


United States of America

     v.                                          Case No. 21-cr-41-1-JL

Ian Freeman


                     ORDER OF DETENTION PENDING TRIAL


      Ian Freeman (“defendant”) has been charged with Conspiracy

to Operate Unlicensed Money Transmitting Business, in violation

of 18 U.S.C. §§ 371, 1960(a), and (b)(1)(B); Operation of

Unlicensed Money Transmitting Business, in violation of 18

U.S.C. §§ 1960(a), (b)(1)(B), and (C); Conspiracy to Commit Wire

Fraud, in violation of 18 U.S.C. §§ 1343 and 1349; Wire Fraud,

in violation of 18 U.S.C. § 1343; Continuing Financial Crimes

Enterprise, in violation of 18 U.S.C. § 225; and Money

Laundering, in violation of 18 U.S.C. § 1956(a)(3)(B).              Doc. no.

1.   The defendant, along with his co-conspirators, allegedly

operated an unlawful virtual currency exchange, misleading banks

and other virtual currency exchanges by claiming that the

incoming payments were donations to various churches.              By doing

so, the defendants allegedly allowed individuals engaged in

fraud and other unlawful activities to exchange U.S. currency

for cryptocurrency without detection.
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     The government moved to detain the defendant on risk of

flight and dangerousness grounds.         The defendant seeks release.

In accordance with 18 U.S.C. § 3142(f), a detention hearing was

conducted by videoconference on March 19, 2021.1           For the reasons

explained below, the government’s motion for detention is

granted.


                           I.    Legal Standards

     Section 3142(f) of the Bail Reform Act, 18 U.S.C. §§ 3141-

3156, “does not authorize a detention hearing whenever the

government thinks detention would be desirable, but rather

limits such hearings” to the circumstances listed in 18 U.S.C. §

3142(f)(1) and (f)(2).       United States v. Ploof, 851 F.2d 7, 10

(1st Cir. 1988).      In this case, the government argued that a

detention hearing was warranted under 18 U.S.C. § 3142(f)(1)(B),

in light of the potential life sentence permitted by 18 U.S.C. §




     1 An in-person hearing was not possible on March 19, 2021
due to the health and safety precautions taken in response to
the COVID-19 pandemic. See Standing Order ADM-1, 20-25.
Defendant waived his right to an in-person hearing and consented
to a video hearing. Doc. no. 32. The hearing was listed on the
public docket on the court’s website, and public access to the
hearing was available by video in accordance with the court’s
Standing Order ADM-1, 20-7. The court made written findings
regarding the limitations on in-person public access, see Doc.
no. 33, and incorporated those findings on the record.


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225.2       Defense counsel challenged this ground for the detention

hearing, arguing that it was unlikely that Mr. Freeman would be

sentenced to life.         The government agreed that such a sentence

was unlikely but argued that it was the maximum sentence

authorized by the statute – not the likely sentence – that was

determinative for purposes of § 3142(f)(1).              The provision at

issue authorizes a detention hearing where the case involves “an

offense for which the maximum sentence is life imprisonment or

death.”       18 U.S.C. § 3142(f)(1)(B) (emphasis added).           The plain

meaning of this provision indicates that if a defendant’s charge

carries a statutory maximum of life imprisonment, a detention

hearing is allowed.         See United States v. Martinez, 102 F. Supp.

2d 39, 41 (D. Mass. 2000) (finding that “[s]ection 3142(f)(1)(B)

includes offenses for which a maximum term of life imprisonment

is permitted” (emphasis added)).             Here, the defendant’s charge

under 18 U.S.C. § 225 carries such a maximum.              The court finds

that a hearing was therefore authorized under 18 U.S.C. §

3142(f)(1)(B).

        Pursuant to § 3142(f), the court must determine whether any

condition or combination of conditions set forth in § 3142(c)




       At the detention hearing, the government did not indicate
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under which provision of 18 U.S.C. § 3142(f) it was seeking
detention but did assert that Mr. Freeman was facing a maximum
penalty of life in prison. The government subsequently
clarified that it was proceeding under § 3142(f)(1)(B).


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will reasonably assure the appearance of the defendant (“risk of

flight”) and the safety of any other person and the community

(“dangerousness”).     See 18 U.S.C. § 3142(f); United States v.

Patriarca, 948 F.2d 789, 791 (1st Cir. 1991).          In making this

determination, the court must consider the following factors:

(1) the nature and circumstances of the offense charged; (2) the

weight of the evidence; (3) the history and characteristics of

the accused, including family ties, past conduct, criminal

history, financial resources, and employment; and (4) the nature

and seriousness of the danger to any person or the community

that would be posed by release.        18 U.S.C. § 3142(g).

       During a hearing conducted pursuant to 18 U.S.C. § 3142,

the government has the burden of persuading the court that no

condition or combination of conditions will reasonably assure

(1) the defendant’s presence at trial, see United States v.

Perez-Franco, 839 F.2d 867, 870 (1st Cir. 1988); or (2) the

safety of another or the community.        See Patriarca, 948 F.2d at

792.   The government is required to prove risk of flight by a

preponderance of the evidence and to establish dangerousness by

clear and convincing evidence.       See id. at 792-93.


                       II.   Findings and Rulings

       In this case, the government argued that the defendant’s

release posed a risk of flight and danger to the community.




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After weighing the evidence and information before the court,

including the Pretrial Services Report (“PSR”) as well as the

parties’ proffers,3 and balancing the factors laid out in 18

U.S.C. § 3142(g), the court finds that the government met its

burden to prove risk of flight by a preponderance of the

evidence and dangerousness by clear and convincing evidence.


  A. Risk of Flight

     The government argues that the defendant is a flight risk.

The defendant has substantial financial resources.4            In his

interview with pretrial services, he indicated that he receives

$23,000 in monthly income — $5,000 from advertisers and $18,000

from donations.     PSR at 3-4.     He also told probation that he has

$60,000 in a checking account5 and $500 in stocks.            PSR at 4.   In

addition, while executing a search warrant on March 16, 2021,



     3 The court rejects the defendant’s position that the
government was required to make its case for detention based on
dangerousness through witness testimony. “Courts have concluded
that district courts have much discretion in determining whether
a bail hearing shall be conducted by proffer or live testimony
and have rejected the contention that either the constitution or
§ 3142(f) necessarily requires that live witnesses be produced
at detention hearings.” United States v. Pasciuti, 958 F.2d
361, 1992 WL 51482, at *5 (1st Cir. 1992) (per curiam,
unpublished table decision) (citing cases).

     4 Mr. Freeman has access to the assets of the Shire Free
Church, which he controls along with his business partner, Mark
Edginton. See PSR at 4.

     5 The defendant proffered at the detention hearing that he
intended to convert this money to cryptocurrency.


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FBI agents seized approximately $178,000 from a safe in the

defendant’s bedroom.         However, based on the information provided

at the detention hearing, these amounts do not appear to capture

the full extent of the defendant’s substantial financial assets.

        In its proffer, the government asserted that over $10

million passed through Mr. Freeman’s accounts over two years,

for which he charged an average of a 10% commission.                The

government also asserted that his business received hundreds of

thousands of dollars every month, of which it took 5 to 15% in

fees.       Federal agents have identified approximately 28 Bitcoin —

equivalent to about $1.6 million — that Mr. Freeman can access;

the government indicated that these funds are almost impossible

to trace and can be accessed from anywhere.              Moreover, in 2018,

an accountant provided a statement to a virtual currency

exchange indicating that Mr. Freeman possessed $300,000 in

deposit accounts and $2.4 million in liquid assets.               The

defendant proffered that he brought in between $30,000 and

$100,000 through his businesses every month.              The information

set forth at the hearing by the defendant and the government is

significantly different than the itemized income and assets Mr.

Freeman initially reported to probation.6



       For the purposes of this order, the court considered only
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the representations regarding Mr. Freeman’s income and assets.
There is no dispute regarding the existence of the defendant’s



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     The defendant’s substantial assets support a finding that

he is a flight risk.   See United States v. Boustani, 356 F.

Supp. 3d 246, 255 (E.D.N.Y. 2019) (considering, among other

factors, the defendant’s “access to substantial financial

resources” in finding that he was a flight risk (citations

omitted)), aff'd, No. 19-344, 2019 WL 2070656 (2d Cir. Mar. 7,

2019); see also United States v. Hurley, 960 F.2d 143, 1992 WL

80316, at *2 (1st Cir. 1992) (per curiam, unpublished table

decision) (considering the defendant’s “likely . . . access to .

. . financial resources” in affirming district court’s holding

that the government met its burden on risk of flight).

Moreover, it appears that most of Mr. Freeman’s assets are in

the form of various cryptocurrencies, which would be difficult

for the government to track and could be accessed from anywhere.

See United States v. Weeks, No. 9:19-mj-08526-WM, 2019 WL

7044548, at *2 (S.D. Fla. Dec. 20, 2019) (considering, as part

of the court’s detention analysis, the government’s assertion

that the defendant “has extensive assets in cryptocurrency

totaling millions of dollars which are unaccounted for and which

could support him if he chose to flee”); United States v. Rhule,




accounts and other assets. The court does not need to resolve
the purported discrepancy between the assets disclosed during
his pretrial services interview and those he allegedly failed to
disclose and gives no weight to this issue. Instead, it focuses
on the nature of the assets themselves.


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No. CR20-0105-JCC-2, 2020 WL 5984072, at *4 (W.D. Wash. Oct. 8,

2020) (considering, as part of the court’s flight risk

determination, the defendant’s substantial financial means and

use of cryptocurrency).          The defendant’s significant financial

assets and the fact that much of his wealth is in the form of

difficult-to-trace cryptocurrency weigh in favor of detention.

        The court acknowledges that Mr. Freeman has lived in New

Hampshire since 2006.          PSR at 2.       However, he lacks meaningful

ties to the state and has traveled out of the country regularly

in the last few years.          His parents live in Florida and his

sister lives in New York.          Id. at 1-2.      Mr. Freeman previously

owned a residence in Keene, NH, but transferred it to the Shire

Free Church — a religious organization with which he is

affiliated — in 2012.          Id. at 2.       In 2015, he purchased a second

property in the name of the Shire Free Church.              Id. at 4.       While

he is employed by the Shire Free Church as a minister, his

primary responsibility is hosting a radio show, which does not

require his physical presence in Keene, New Hampshire.                See id.

at 3.       The defendant traveled to Japan and Mexico in 2019, and

to Mexico in 2018 and 2017.7           Id.     At the hearing, Mr. Freeman’s

counsel indicated that Mr. Freeman’s business partner, Mark




       Mr. Freeman reported to pretrial services that each trip
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included broadcasting his radio show from these foreign
locations. PSR at 3.


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Edginton, is currently “out of the country,” possibly in Mexico.

The defendant’s lack of meaningful ties to the area and his

foreign connections are relevant factors in the risk of flight

analysis.   See United States v. Smiley, No. 3:19-CR-00752-RAM,

2019 WL 6529395, at *4 (D.P.R. Dec. 4, 2019) (considering the

defendant’s lack of ties to Puerto Rico in concluding he was a

flight risk); Weeks, 2019 WL 7044548, at *4 (finding the

defendant’s foreign travel and lack of ties to the relevant

jurisdictions contributed to his status as a flight risk);

United States v. Smith, Crim. No. 16-464 WJ, 2016 WL 10538351,

at *3 (D.N.M. Apr. 7, 2016) (explaining that the defendant’s

foreign travel supported a conclusion that he was a flight risk,

despite finding that the travel was not extensive and that this

factor was partially mitigated by the surrender of the

defendant’s passport).      When considered together, these facts

weigh in favor of detention.

       The length of the potential sentence is also significant.

At least one of the charges carries a mandatory minimum of ten

years and a maximum penalty of a life term.          See 18 U.S.C. §

225.   “[T]he potential sentence to be imposed . . . [is a]

relevant factor[] in deciding whether the defendant poses a risk

of flight.”    United States v. Valerio, Crim. Action No. 07-

10421-FDS, 2009 WL 2058851, at *2 (D. Mass. July 10, 2009)




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(citing United States v. Castiello, 878 F.2d 554, 556 (1st Cir.

1989)).

     Next, the court looks to the weight of the evidence against

the defendant.      The court notes that “when evaluating the

‘weight of the evidence,’ the court does not make a

determination of the defendant’s guilt or innocence, but rather

asks whether the evidence against the defendant, as proffered by

the parties, is so strong that it could lead the defendant to

flee.”    United States v. Merrick, No. 20-cr-09-JD, 2020 WL

4483128, at *5 (D.N.H. Aug. 4, 2020) (citing 18 U.S.C. §

3142(j); United States v. Torres-Rosario, 600 F. Supp. 2d 327,

334 (D.P.R. 2009)).       Here, the weight of the evidence —

including electronic records, financial analysis, and

communications with banks and virtual currency exchanges,

resulting from a nearly five-year federal investigation — “is

strong and guides the court toward an inference that [Mr.

Freeman]’s risk of flight and danger to the community is

significant.”      Id.   The lengthy potential sentence and strong

evidence create an incentive to flee and weigh in favor of

detention.     See Hurley, 1992 WL 80316, at *2 (finding that the

combination of a potential sentence of more than 15 years and

strong evidence established a “considerable incentive to flee”).

     The court notes the defendant’s arguments concerning his

mental health, physical health, and criminal record.             However,


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these factors are at best neutral, and are outweighed by the

factors favoring detention.     Mr. Freeman’s significant financial

assets and their unique accessibility, lack of strong ties to

New Hampshire, foreign travel, and potentially lengthy sentence,

as well as the weight of the evidence against him, establish

that he has both the means and the incentive to flee.          For these

reasons, the court finds that the government met its burden of

establishing by a preponderance of the evidence that the

defendant presents a serious risk of flight.


  B. Dangerousness

     The court also finds that the government has met its burden

to show by clear and convincing evidence that Mr. Freeman poses

a danger to the community.     Dangerousness is not limited to

physical acts of violence.     United States v. Tortora, 922 F.2d

880, 884 (1st Cir. 1990) (“Danger, in this context, was not

meant to refer only to the risk of physical violence.” (citing

S. Rep. No. 98-225, at 12, as reprinted in 1984 U.S.C.C.A.N.

3182, 3195)).   Additionally, courts have found that economic

harm may constitute a danger to the community for purposes of

the Bail Reform Act.    See United States v. Persaud, No. 05-cr-

368, 2007 WL 1074906, at *1 (N.D.N.Y. Apr. 5, 2007) (agreeing

with Magistrate Judge’s finding that “economic harm qualifies as

a danger within the contemplation of the Bail Reform Act”);




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United States v. Giordano, 370 F. Supp. 2d 1256, 1270 (S.D. Fla.

2005) (“There can be no question that an economic danger, like

that posed by a serial defrauder, falls under the broad umbrella

of ‘dangerousness’ as that term is used throughout the Bail

Reform Act.” (citation omitted)); see also United States v.

DeSimone, CR No. 09-024S, 2009 WL 904688, at *2 (D.R.I. Apr. 1,

2009) (citing cases and finding that “the concept of ‘danger’

under 18 U.S.C. § 3142(g)(4) may, at least in certain cases,

extend to pecuniary or economic harm”).

     Mr. Freeman allegedly built and oversaw a wide-ranging

criminal enterprise that misled financial institutions, enabled

fraud, and allowed those engaged in criminal activity to

exchange their ill-gotten gains for virtual currency.          Mr.

Freeman was aware of the investigation into his activities;

however, he was undeterred by law enforcement’s inquiries and,

based on the timeline in the record, continued to engage in such

activities and encourage others to do so.        According to the

government, the defendant knew that his currency exchange was

used by persons and/or entities engaged in criminal conduct and

marketed his operation as an alternative to other exchanges by

indicating that he would not ask about the source or destination

of funds and charging much higher fees than legitimate

exchanges.   Government agents have identified people across the

country who stated they were manipulated by scammers into


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sending money to the defendant, the Shire Free Church, or one of

the alleged co-conspirators, often in the form of “church

donations.”   As recently as March 16, 2021, the Postal

Inspection Service intercepted a package addressed to the Shire

Free Church, which contained $4,000 from “an 80-year-old victim

of an apparent romance scam.”      This operation clearly poses a

danger to the community by enabling fraud and economic harm.

     For all of these reasons, the court finds that the

government met its burden of proving by clear and convincing

evidence that the defendant poses a danger to the community if

released.


  C. Proposed Conditions

     The conditions offered by Mr. Freeman do not allay the

court’s concerns about risk of flight or dangerousness.            The

defendant has proposed surrendering his passport.          While

tendering his passport would reduce the risk of international

travel, it does not prevent domestic travel outside of New

Hampshire.    See United States v. Zeaiter, No. 15-MJ-139-JSS,

2015 WL 3544666, at *2 (N.D. Iowa June 4, 2015) (“Moreover, a

passport is not necessary for domestic travel, as the issue is

not just one of flight from the country, but risk of any flight

and non-appearance at future proceedings.”).         Additionally,

while Mr. Freeman insisted at the hearing that his World




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Government of World Citizens passport is a “worthless novelty

document,” probation reports that such passports “have

reportedly been recognized at various times by officials in over

95% of all nations.”    PSR at 3 n.2.     Moreover, anyone can

purchase this document by applying and paying $125, see id., and

even if he were to surrender the one currently in his

possession, there is nothing to prevent the defendant from

purchasing another.

     The defendant also proposed installing a “tracking device”

as a condition.   However, location monitoring fails to

meaningfully mitigate the court’s concerns regarding risk of

flight and dangerousness.     The location monitoring technology

used by probation does not have GPS functionality; it would

merely alert probation of the defendant’s comings and goings

from a fixed location but would not otherwise track his

movements.   In other words, “[e]lectronic monitoring can alert

the authorities to flight, but not prevent it.”         United States

v. Angwang, No. 20-MJ-0837(RER), 2020 WL 5947187, at *5

(E.D.N.Y. Oct. 7, 2020) (citations omitted).         Moreover, while

location monitoring would alert probation if the defendant were

to leave his home, “it provides little useful information about

what [a defendant] is doing.”      United States v. Martin, 447 F.

Supp. 3d 399, 403 (D. Md. 2020) (recognizing that cell phones

and other technology “make it all too easy for [a defendant] to


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resume his involvement . . . in [criminal conduct] without

detection”).   Because of the nature of the alleged crimes in

this case and the fact that, according to the government’s

proffer, Mr. Freeman “organized, managed, and supervised at

least three other people” to conduct his business, location

monitoring would not reasonably assure the safety of the

community by deterring the continued operation of the enterprise

giving rise to the pending charges.       In addition, electronic

monitoring is “less effective in ‘dangerousness’ cases.”           United

States v. Martinez-Torres, 181 F.3d 81, 1998 WL 1085669, at *2

(1st Cir. 1998) (per curiam, unpublished table decision).              Here,

both dangerousness and risk of flight are at issue, and location

monitoring fails to assuage the court’s concerns.

     The defendant also suggested that he would be amenable to

restrictions on his electronic access and access to his currency

exchange business.    However, he did not explain the form that

such conditions would take or how they would reasonably assure

that he would cease his activities.       The court is not confident

that monitoring or restricting Mr. Freeman’s electronic access

is a viable enforcement tool for probation given his

demonstrated sophistication with computer technology and virtual

currency.   See United States v. Patel, Crim. No. 20-mj-14001

(ZNQ), 2020 WL 1698785, at *6-7 (D.N.J. Apr. 8, 2020) (finding,

where the defendant faced charges of conspiracy to commit mail


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fraud and identity theft, that “[t]he Court does not agree that

internet restrictions and location monitoring will be effective

in deterring Defendant” from resuming unlawful conduct); United

States v. Ojo, Crim. No. SAG-20-0369, 2020 WL 7707341, at *2 (D.

Md. Dec. 29, 2020) (“The conduct [the defendant] engaged in is

the type of conduct that can be conducted in one's home, and

conditions of release prohibiting computer or internet usage are

notoriously difficult to enforce.”).       As to the defendant’s

involvement in his currency exchange business, for the reasons

above, the court is not persuaded that restrictions on such

conduct could be effectively fashioned.        Moreover, Mr. Freeman’s

criminal history — specifically the charges of resisting arrest

or detention and obstruction of government administration — does

not demonstrate a willingness to comply with law enforcement or

government orders.

     Accordingly, Mr. Freeman’s proposed release plan does not

reasonably assure his appearance at future court proceedings or

the safety of the community.


                            III. Conclusion

     For these reasons, the court finds that the government met

its burden of establishing by a preponderance of the evidence

that there are no conditions or combination of conditions of

release that will reasonably assure the appearance of the




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defendant and its burden of establishing by clear and convincing

evidence that there are no conditions or combination of

conditions of release that will reasonably assure the safety of

any other person and the community.        Accordingly, it is ORDERED

that the defendant be detained pending trial.

      The defendant is committed to the custody of the Attorney

General or his designated representative for confinement in a

correctional facility, to be held separately, to the extent

practicable, from persons awaiting or serving sentences or being

held in custody pending appeal.       The defendant shall be afforded

a reasonable opportunity for private consultation with defense

counsel.   On order of a court of the United States or on request

of an attorney for the government, the person in charge of the

correctional facility shall deliver the defendant to the United

States Marshal for the purpose of appearing in connection with

court proceedings.

      SO ORDERED.

                                   _____________________
                                   Andrea K. Johnstone
                                   United States Magistrate Judge

March 29, 2021

cc:    Mark L. Sisti, Esq.
       Georgiana MacDonald, Esq.
       Seth R. Aframe, Esq.
       U.S. Probation
       U.S. Marshal




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